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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
            v.                       ) Criminal Action No. 1:23-cr-00061-MN
                                     )
ROBERT HUNTER BIDEN,                 )
                                     )
            Defendant.               )
                                     )
____________________________________)


            MR. BIDEN’S NOTICE OF SUPPLEMENTAL AUTHORITY:
            SNYDER V. UNITED STATES, NO. 23-108 (U.S. JUNE 26, 2024)




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       Yesterday, the Supreme Court decided Snyder v. United States, No. 23-108 (U.S. June 26,

2024), which is pertinent to the questions of vagueness and fair notice that Mr. Biden has raised in

the case before this Court. Snyder rejected the government’s argument that 18 U.S.C. § 666

extended beyond bribery to criminalize mere gratuities, in part because of the lack of “fair notice”

concerning this offense and a concern it “would create traps for [the] unwary.” Slip op. at 7, 11.

       In resisting the claim that the suggested gratuities offense was overbroad, the government

sought a limiting construction where the prohibition “would not cover ‘innocuous’ or ‘obviously

benign’ gratuities” but the Supreme Court rejected that approach because it would raise “a very

serious real-world problem.” Slip op. at 12. The government’s proposed definition of the offense

offered “no guidance at all.” Id. This “so-called guidance” would leave people “entirely at sea to

guess about what gifts they are allowed to accept under federal law, with the threat of up to 10

years in federal prison if they happen to guess wrong. That is not how federal criminal law works.”

Id. at 13. Justice Gorsuch concurred to emphasize the lack of fair notice point, explaining “any

fair reader of this statute would be left with a reasonable doubt about whether it covers the

defendant’s charged conduct.” Slip op. at 1 (Gorsuch, J., concurring).

       Mr. Biden’s case has even more significant lack of fair notice issues. In the first place,

unlike Snyder where nobody has a right to give or accept a gratuity, Mr. Biden’s conduct implicates

his constitutional Second Amendment rights. Nevertheless, Mr. Biden was not given fair notice

of the crimes the jury was permitted to convict him upon. When ATF Form 4473 asked in the

present tense if he was a “user of controlled substances” in the present tense, he was not told as

the jury was instructed that means if he last used drugs “days or weeks before.” 6/10/24 Tr. at

1305. Even under that definition, neither Mr. Biden nor anyone else would have clarity about how

many days or weeks would need to pass after quitting the use of drugs before that box could be



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checked “no.” Foregoing his Second Amendment rights altogether by never buying a gun is no

answer either, just as not giving or accepting any sort of gratuity was no answer in Snyder, which

did not even involve the exercise of a constitutional right.

         Those same fair notice problems persist with Section 822(g)(3)’s definition of gun

possession. While that term is clear when restricted to actual physical possession, it defies fair

notice when construed as to the constructive possession concepts permitted by the Court’s

instructions and the Special Counsel’s arguments that mere ownership is sufficient. See 6/4/24 Tr.

at 342. Someone who owns a gun in Delaware but is not in physical possession of the gun (perhaps

miles away) poses no dangers of misusing a firearm. Such a construction of the terms is beyond

the Second Amendment or any valid purpose for Section 922(g)(3), and it too poses fair notice

problems. There was no evidence that Mr. Biden was in actual physical possession of a gun at any

point that he was actually using drugs.

         The constructive possession concept becomes a “trap for the unwary,” as 44% of American

adults live in a home with a firearm.1 Thus, a person could run afoul of this prohibition by being

able to possess a gun simply because their spouse or roommate owns a gun, or simply by visiting

nearly half of the homes in America where such a gun could be obtained. This potential outcome

is substantially broader than the criminal statute that caused concern in Snyder because it

implicates far more citizens than merely those who exchange gratuities with public officials.

         In his previous filings, Mr. Biden referred to the Fifth and Seventh Circuits’ findings that

18 U.S.C. § 922(g)(3) must be severely restricted to comport with the Second Amendment, for

example by limiting the prohibition to being actually intoxicated while physically armed and

terrorizing people with a gun. No such limiting construction was announced by this Court or was



1   https://news.gallup.com/poll/264932/percentage-americans-own-guns.aspx.
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given to the jury. See, e.g., D.E.61, D.E.235. Thus, Mr. Biden had no advance notice of the line

where his Second Amendment right stopped and where, if crossed, it would become a felony. And

the jury, not being told of any Second Amendment limitation, may have convicted Mr. Biden for a

valid exercise of his Second Amendment rights. As in Snyder, that should not be “how federal

criminal law works.” Slip op. at 13.

          The Court should consider Snyder’s consideration of fair notice when examining these

issues.


Dated: June 27, 2024                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 27, 2024, I filed the foregoing with the Clerk of Court using

the CM/ECF system, which will send a notification of such filing to all counsel of record.


                                                    /s/ Abbe David Lowell
                                                    Abbe David Lowell

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